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                         Exhibit D

   (Noteworthy Cases Highlighting Dentons US’s Experience)
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Select Representations


    New York Stock Exchange: Successfully defended three New York Stock Exchange
     markets in the “Flash Boys” class action case; getting the case dismissed for lack of Article
     III standing after 8 years of litigation. Arguably the largest class action of any type ever filed,
     the plaintiffs sought in excess of $4.9 trillion based on allegations that high-frequency traders
     used exchange-created products that are available to all market participants (specifically co-
     location, “complex” order types, and proprietary data feeds) to manipulate the markets at the
     expense of non-high frequency traders.

    Innocoll Holdings: Won victories for Innocoll Holdings and its officers and directors in two
     securities class action lawsuits.

           In the first case, Rubin v. Innocoll Holdings plc, et al., in which we defended the
            company and its board of directors against allegations that the disclosures in the
            proxy statement for a going-private transaction failed to disclose allegedly material
            information in violation of Sections 14(a) and 20(a) of the Securities Exchange Act of
            1934, as amended, and SEC Rule 14a-9 promulgated thereunder. Based on these
            allegations, the plaintiff sought to enjoin the stockholder vote on the acquisition and
            enjoin the consummation of the transaction. After the plaintiff demanded corrective
            disclosures, we provided a detailed rebuttal and refused to alter any statements in the
            proxy. On June 28, 2017, the stockholders voted in favor of the acquisition, and the
            transaction subsequently closed. In August, the plaintiffs dismissed the action.

           The second action is In re Innocoll Securities Litigation, in which plaintiffs alleged
            misrepresentations in connection with the FDA review of Innocoll's product Xaracoll,
            which allegedly cause an inflated share price. In September 2018, the US District
            Court for the Eastern District of Pennsylvania dismissed the consolidated amended
            complaint for failure to adequately plead scienter under the PSLRA. Following the
            filing of a second amended complaint the litigation continues. An aggressive
            opposition to the motion for class certification on the grounds that Innocoll was not
            trading in an efficient market during the class period led to a favorable settlement..
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   Genworth Financial, Inc.: Representation of longtime client Genworth Financial Inc. and its
    former US CEO and CFO in a 10b-5 securities fraud "stock drop" class action pending in the
    US District Court for the Southern District of New York, which we took over as replacement
    counsel. Plaintiffs allege that Defendants made materially false statements concerning
    Defendant Genworth Financial's planned partial IPO of its Australian mortgage insurance
    subsidiary, concealed allegedly negative financial and adverse claims developments from
    investors, and announced the partial IPO at a time Defendants knew (or recklessly did not
    know) that the announced IPO could not be consummated. Defendants categorically deny
    Plaintiffs' allegations of wrongdoing. A favorable nationwide class settlement was reached
    and approved by the court.

   First American Title Insurance: Dentons, as National Counsel, is defending First
    American Title Insurance Company in four civil lawsuits alleging its involvement in a
    scheme to sell tenant-in-common real estate interests as unregistered securities. Plaintiffs
    invested $35 million in fractional interests in property developments, which weren’t
    marketed as securities, using these exchange vehicles. First American provided the title
    insurance and escrow services in connection with each purchase. The plaintiffs expected their
    investments to generate passive income from monthly rent payments. Plaintiffs allege earlier
    investors weren’t paid their monthly returns from rent payments, but instead from money
    defendants collected from later investors (like a Ponzi scheme). When tenants went bankrupt,
    the alleged scheme unraveled and plaintiffs were left with properties that were unoccupied,
    or unbuilt. In the Utah state court case, the claims have been compelled to arbitration (where
    they will likely be dismissed as time-barred). In one Utah federal court case, arbitration was
    compelled, but the plaintiffs later decided to try to amend their claims to avoid the order
    compelling them to arbitrate; the court is now deciding whether in doing so the plaintiffs
    waived federal court jurisdiction. In the other Utah federal court case the court is deciding
    whether to compel arbitration.

   Cantor Fitzgerald & Co.: A Dentons team represented Cantor Fitzgerald & Co. in a
    “sweep” of Wall Street financial services firms conducted by the Securities and Exchange
    Commission and the Commodity Futures Trading Commission. The agencies investigated
    “off-channel” electronic business communications by employees on personal devices not
    captured by their firms’ communications platform. Eleven firms settled the recordkeeping
    charges, but because of our strategy and advocacy, Cantor paid by far the lowest penalties of
    all of the firms.

   Czechoslovak Group, a.s: Defending litigation against CSG in Delaware Superior Court
    alleging breach of a call option agreement with respect to CSG’s radar-manufacturing
    subsidiary Retia. CSG has counterclaimed for defamation. This litigation is of high
    importance to the company both financially and reputationally.




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   Major Global Life Insurance Company: On behalf of a major life insurance company, our
    team led the defense of a nationwide class action regarding unauthorized charges on owners
    of variable universal life and universal life policies. Plaintiff sought damages and restitution,
    as well as a declaration prohibiting the challenged business practices. An Order of
    Completion of this nationwide class settlement was entered in June 2021. This was a novel,
    bespoke matters that resulted in an extraordinary and creative settlement for our client that
    saved the Company hundreds of millions in potential exposure and achieved full and fair
    results for members of the class.

   Wall Street Trader: Successful defense of senior Wall Street trader in four-year CFTC
    investigation concerning trading in interest-rate swaps. This has been a key priority focus
    area for the CFTC, which is currently litigating enforcement actions against two swaps
    traders from two other investment banks. The matter was high stakes for our client, as any
    charge would have had a devastating impact on his career. After multiple presentations and a
    white paper, we persuaded the CFTC staff to close the investigation without taking any
    enforcement action against our client.

   Wall Street Investment Bank: Representation of Wall Street Investment Bank in ongoing
    SEC industry sweep concerning use of unapproved electronic communication channels by
    senior executives and other bank employees.

   Wall Street Investment Bank: Representation of an investment bank in an SEC
    investigation concerning Special Purpose Acquisition Companies (SPACs) sponsored by the
    bank. This matter is important because SPACs are a priority area for the SEC and because
    the activities under investigation involve the client’s senior management.

   A Group of Stock Exchanges: Representation in non-public SEC investigation concerning
    reporting of systems incidents. The matter is important because it involves compliance with a
    new SEC regulation that the SEC views as critical to protecting the infrastructure of the
    securities markets.

   Genworth Financial Wealth Management, Inc./Asset Mark: Defeated class certification
    on behalf of our clients, a major financial institution and its investment advisory group along
    with its CEO, facing a federal 10b-5 securities fraud class action that alleged
    misrepresentations and omissions regarding the placement of client assets in mutual funds
    and related mutual fund fees. The US Court of Appeals for the Second Circuit affirmed the
    victory.

   Versar, Inc.: Served as lead counsel for the directors of Versar, Inc., a national project
    management company, defending a stockholder class action in the Delaware Chancery Court
    and appraisal litigation in connection with a November, 2017 merger. We moved to dismiss
    the complaint in the class action. In response to the motion to dismiss the plaintiffs withdrew




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    their complaint and dismissed the action. The appraisal action also has been settled for a
    modest amount.

   Specialty Equipment Companies, Inc.: Represented the directors of Specialty Equipment in
    a case involving allegations of self-dealing and breaches of fiduciary duty. The matter
    included class allegations on behalf of the company's shareholders and allegations that the
    proxy statement by which shareholder approval was obtained was false and misleading. We
    successfully negotiated a settlement of this action.

   Owners of First Commodity Corporation of Boston: Defended the owners of First
    Commodity Corporation of Boston (FCCB) against class action claims by customers alleging
    violation of the Commodity Exchange Act. We settled the matter on favorable terms for the
    client.

   Metropolitan Life Insurance Company: On behalf of our client Metropolitan Life
    Insurance Company, Dentons won the dismissal, affirmed on appeal, of five related class
    actions brought by life policy and variable annuity holders in the US District Court for the
    Southern District of New York. Plaintiffs had charged the company with misrepresenting its
    financial status and strength through the use of captive reinsurance transactions, alleging that
    our client's lack of disclosure put policyholders—and the entire financial system—at risk.
    The complaints relied heavily on a 2013 policy report from the NY Department of Financial
    Services which had labeled "shadow insurance" transactions a kind of "financial alchemy"
    that created the appearance of reducing risk, but had the effect of making insurers' capital
    reserves "appear larger and rosier than they actually are." Claiming that this practice left
    policyholders with less protection, the plaintiffs sued under New York's insurance law
    seeking a penalty amounting to the return of all premiums—a claim for more than $40
    billion. Dentons moved to dismiss on numerous grounds, including that neither the plaintiffs'
    claims of New York state insurance law violations, nor their arguments of increased risks of
    unpaid claims and future loss of benefits, were sufficient to give them Article III standing.
    The District and Appellate Courts agreed, the Second Circuit noting that plaintiffs failed to
    "allege, or even suggest" that consumers would not have purchased the life insurance and
    annuity riders had they known of the shadow insurance practices, and that the claim that
    future benefits would be in jeopardy was "too far down the speculative chain" to support
    standing.

   Proprietary trading firm: Representing a proprietary trading firm in a set of more than 20
    now-consolidated class actions in the Southern District of New York, claiming financial
    institutions of manipulating the prices of US Treasury securities. The central allegation is that
    the defendants allegedly used both their positions as primary dealers as well as their access to
    extensive market-sensitive information to manipulate, in certain periods, the auctions and the
    pricing of Treasury securities; the secondary market for Treasury securities and the market
    for Treasury instruments, such as futures and options. The case is related to a probe by the



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    Commodity Futures Trading Commission investigating market manipulation and spoofing.
    The case is In re: Treasury Securities Auction Antitrust Litigation.

   GlaxoSmithKline plc: Secured dismissal of a securities 10b-5 stock drop class action, with
    prejudice, upon a Motion to Dismiss, in a case filed in the District of Maryland following a
    severe drop in our client’s stock price following certain disclosures related to the release of a
    new product. The Court ruled in favor of all defendants finding that the plaintiffs had not
    pled a plausible theory of scienter.

   Medis Technologies, Ltd.: Successfully represented Medis Technologies, Ltd., and related
    defendants in a securities fraud class action in the US District Court for the Southern District
    of New York. The suit alleged misleading statements concerning sales of Medis' power
    source products. Medis argued that under the Tellabs standard, which requires the court to
    consider competing non-culpable inferences as to a defendant's intent, plaintiffs had not
    adequately pled scienter. The court agreed, and granted Medis' motion to dismiss the
    amended complaint in its entirety, without leave to replead: "[C]onsidering all of the facts
    alleged, . . . and the overall implausibility of the suggested scheme . . . the amended
    complaint fails to raise a strong inference of scienter . . ." In 2009, the US Court of Appeals
    for the Second Circuit unanimously affirmed the dismissal of the case with prejudice.

   Investor fund: Represented an investor fund plaintiff class in a 10b-5 lawsuit against
    clearing firm for allegedly facilitating the misuse of client collateral by fund manager. We
    settled the matter on favorable terms for the client.

   TomoTherapy: Represented TomoTherapy (known as Accuray) and certain of its officers
    and directors in a consolidated action in the US District Court for the Western District of
    Wisconsin. TomoTherapy manufactures and sells a treatment system for the precise delivery
    of radiation therapy. The consolidated complaint alleged violations of the Securities
    Exchange Act of 1934 and Rule 10(b)(5), as well as violations of the Securities Act of 1933,
    based upon alleged misstatements and omissions surrounding the company's order backlog
    and anticipated revenues. We secured a favorable settlement on behalf of our client.

   Bank of America Securities: Represented the underwriter of a private placement bond issue
    in securities class action in the US District Court for the Northern District of Alabama. We
    successfully defeated class certification on numerous claims, and the case settled on
    favorable terms for the underwriting group.

   Sears Holdings Corporation/Sears, Roebuck & Co., Inc.: Dentons has represented Sears
    and certain of its officers in several class actions filed in the US District Court for the
    Northern District of Illinois and state courts, including the following:

          An action by shareholders alleging that the merger price was too low. Sears won
           dismissal in the circuit court and the case was affirmed on appeal.



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          An action by common stock shareholders under Section 10(b) of the Securities
           Exchange Act of 1934 and Rule 10(b)(5) alleging that Sears made misleading
           statements about the amount of subprime accounts in its credit card portfolio, the
           disclosure of which caused a significant drop in the price of Sears stock. This action
           was settled.

          An action by participants in Sears' profit sharing plans alleging that the defendants
           violated the Employee Retirement Income Security Act (ERISA) by investing in
           Sears stock. This action was settled.

          An action by holders of Sears Retail Acceptance Corporation debt securities alleging
           violations of Section 11 of the Securities Act of 1933, Section 10(b) of the Securities
           Exchange Act of 1934 and Rule 10(b)(5) relating to the adequacy of disclosures about
           subprime accounts in Sears' credit card portfolio. This action was settled.

   National precious metals company: Co-counsel for a national precious metals company in
    defense of a CFTC regulatory investigation involving issues of first impression under the
    CEA. Succeeded in defeating the government’s preliminary injunction motion.

   Charles Schwab Corporation: Obtained dismissal of Charles Schwab Corporation from a
    short-selling securities class action in federal court in New Jersey.

   New York Stock Exchange: Represented the New York Stock Exchange (NYSE) in, among
    others, the following matters:

          Defended against challenges to the pricing of market data feeds and achieved the
           dismissal of 402 such challenges after nearly 13 years of litigation, including three
           appeals to the United States Court of Appeals for the D.C. Circuit and a trial before
           an SEC administrative law judge.

          Achieved dismissal of claims by market makers that they were improperly charged
           payment for order flow fees.

          Represented NYSE in trial and appellate proceedings in putative class action
           challenging the creation of FINRA. The courts held NYSE was immune from claims,
           including proxy fraud claims, relating to the formation of FINRA. Standard
           Investment Chartered, Inc. v. Nat’l Ass’n of Secs. Dealers, Inc., 637 F.3d 112 (2d Cir.
           2011).

   Mutual fund management companies: Represented mutual fund management companies
    and their officers and directors in litigation in New York and Delaware alleging RICO and
    other claims based on the theory that investments in certain securities that were listed and
    publicly traded on the London Stock Exchange were “illegal” under US law. Achieved the
    first dismissal with prejudice in this type of case.



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   Underwriters: Represented the underwriters in Fait v. Regions Financial Corporation in a
    matter in which established that a plaintiff seeking to bring claims under the Securities Act of
    1933 that statements of opinion were false must plead that a defendant did not in fact believe
    those statements when they were made.

   Underwriters in In Re Flag Telecom Holdings, Ltd. Securities Litigation: Represented the
    underwriters in In Re Flag Telecom Holdings, Ltd. Securities Litigation, in which the US
    Court of Appeals for the Second Circuit, after accepting discretionary review of a class
    certification decision, dismissed the vast majority of potential claims against the underwriters
    by requiring the exclusion of “in-and-out” traders from the class.

   Insurance company director: Represented an insurance company director and achieved
    dismissal of securities class action claims relating to alleged bid-rigging.

   Technology company: Achieved a defense verdict after trial in a case alleging
    misrepresentation in connection with the sale of a tech company’s stock, which was part of a
    bankruptcy estate.

   Gold mining company: Represented a gold mining company and its officers in securities
    class actions relating to the company’s use of commodity derivatives in its hedgebook.

   Technology company: Defended a technology company in a securities class action filed
    after the SEC mandated a change in accounting methodology that required the company to
    restate its financials.

   Major financial institutions: Successfully represented major financial institutions and their
    officers and directors in securities litigation, regulatory investigations and other high-profile
    disputes involving mortgage portfolios and/or residential mortgage-backed securities
    (RMBS), including numerous matters against Fannie Mae and Freddie Mac, federal and state
    financial regulators, and class action and other plaintiffs in courts across the US.

   Former CFO of NIC, Inc.: Won a three week trial against the SEC in US District Court of
    Kansas defending the former CFO of NIC, Inc. in a misrepresentation case.




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